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 6   Attorneys for Plaintiff
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    MANISHA SHAH, individually and on behalf
      of all others similarly situated,          Case No.: 3:20-cv-06609-JD
11
                               Plaintiff,
12
                     v.                          NOTICE OF VOLUNTARY DISMISSAL
13                                               PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
      AIMMUNE THERAPEUTICS, INC., JAYSON
14    DALLAS, GREG BEHAR, PATRICK
      ENRIGHT, KATE FALBERG, BRETT
15    HAUMANN, MARK IWICKI, MARK
      MCDADE, and STACEY D. SELTZER,
16
                               Defendants.
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          NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
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 1          Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

 2 Procedure, plaintiff Manisha Shah (“Plaintiff”) voluntarily dismisses this action without prejudice

 3 as to both the Plaintiff’s individual claims and the claims of the putative class. This notice of

 4 dismissal is being filed before service by Defendants of either an answer or a motion for summary

 5 judgment. Since no class has been certified and the dismissal is without prejudice as to the

 6 members of the putative class, notice of this dismissal is not required. Plaintiff’s dismissal of this

 7 Action is effective upon filing of this notice.

 8

 9   Dated: November 12, 2020                           BRODSKY & SMITH, LLC

10                                                By: /s/ Evan J. Smith
                                                      Evan J. Smith, Esquire (SBN 242352)
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           NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
